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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
    HATICE CENGIZ, et al.,                            )
                                                      )
                 Plaintiffs,                          )
                                                      )
          v.                                          )       Civil Action No. 20-3009 (JDB)
                                                      )
    MOHAMMED BIN SALMAN, et al.,                      )
                                                      )
                 Defendants.                          )
                                                      )

    NOTICE BY THE UNITED STATES CONCERNING POTENTIAL PARTICIPATION
                 AND UNOPPOSED REQUEST FOR EXTENSION

         On July 1, 2022, the Court entered an order inviting the United States to submit a statement

of interest pursuant to 28 U.S.C. § 5171 “regarding any issue in this case, but particularly with

respect to” a set of issues regarding foreign official and sovereign immunity and the application of

the act-of-state doctrine. Order at 1, ECF No. 39. The Court ordered the United States to file by

August 1, 2022, its statement of interest or a notice that it does not intend to make any such

statement. Id. at 2. The Court further permitted the parties an opportunity to respond to any

statement of interest by August 16, 2022.

         The United States appreciates the Court’s invitation and has initiated a decision-making

process to determine whether to file any statement of interest in this litigation and, if so, on what

issues. Although the Government has endeavored to comply with the schedule set forth in the

Court’s order, it has determined that it will not be able to do so by the date established by the

Court. The United States is diligently considering the Court’s inquiry but the process for doing so



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 28 U.S.C. § 517 authorizes the Attorney General to send any officer of the Department of Justice
“to attend to the interests of the United States in any suit pending in a court of the United States,
or in a court of a State, or to attend to any other interests of the United States.”
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requires consultation among multiple entities within the Executive Branch with respect to complex

issues of international and domestic law.

          The United States therefore respectfully submits that it will require further time to consider

these issues and estimates that an additional 60 days are needed to complete its decision-making

process. At the conclusion of that additional period, the Government anticipates being able to

either file a statement of interest or a notice that it will not file any such statement. The United

States recognizes that the requested extension of time would extend the deadline for its potential

participation beyond the currently scheduled date for hearing on the pending motions to dismiss,

which is set for August 31, 2022. The United States defers to the Court regarding whether any

continuance of that hearing is appropriate.

          Counsel for the United States has conferred by e-mail with counsel of record for the

Plaintiffs and the Defendants that have appeared to date and all consent to the relief requested

herein.

          The United States appreciates the Court’s patience and consideration in this matter.

 Dated: July 18, 2022                                   Respectfully submitted,

                                                        BRIAN M. BOYNTON
                                                        Principal Deputy Assistant Attorney General

                                                        ALEXANDER K. HAAS
                                                        Director

                                                        ANTHONY J. COPPOLINO
                                                        Deputy Director

                                                        /s/ James R. Powers
                                                        JAMES R. POWERS (TX Bar No. 24092989)
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